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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED MDL NO. 2047
DRYWALL PRODUCTS LIABILITY SECTION: L
LITIGATION JUDGE FALLON

MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:

Germano, et al. v. Taishan Gypsum Co.,
Ltd., f/k/a Shandong Taihe Dongxin Co.
Ltd., et al., Case No. 2:09-cv-6687 (E.D.La.)

ORDER

AND NOW, on this Day of , 2009, upon consideration of

the Plaintiffs’ Motion for Default Judgement against Taishan Gypsum Co., Ltd., it is hereby
ORDERED, ADJUDGED AND DECREED that said motion is GRANTED. Plaintiffs and the
class they seek to represent are entitled to an entry of default and default judgment on liability,

with damages to be determined on further submission according to proof.

By the Court,

